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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                    Plaintiff,             )
                                           )                 8:05CR187
      vs.                                  )
                                           )                   ORDER
TONIA PLUNK,                               )
                                           )
                    Defendant.             )



       This matter is before the court on defendant's unopposed MOTION TO EXTEND
DATE FOR FILING PRETRIAL MOTIONS AND TRIAL DATE [30]. For good cause shown, I
find that the motion should be granted. The defendant will be given the requested
approximate 45-day extension. Pretrial Motions shall be filed by July 1, 2005

      IT IS ORDERED:

      1.    Defendant's MOTION TO EXTEND DATE FOR FILING PRETRIAL MOTIONS AND
TRIAL DATE [30] is granted. Pretrial motions shall be filed on or before July 1, 2005.
Defendant is ordered to file a waiver of speedy trial as soon as practicable. This
extension applies to all defendants. Trial will be set by separate order.

       2.     The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time
between May 17, 2005 and July 1, 2005, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason
defendant's counsel required additional time to adequately prepare the case, taking
into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(8)(A) & (B).

      DATED May 17, 2005.

                                        BY THE COURT:


                                        s/ F.A. Gossett
                                        United States Magistrate Judge
